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                                                                                 FILED
                                                                                    AUG 082013
                                  UNITED STATES DISTRICT COURT                   Cieri<, u.s District Court
                                      DISTRICT OF MONT ANA                         D.strict Of Montana
                                                                                       Great Falls
                                      GREAT FALLS DIVISION


                                                          Case No. CR 13-52-GF-DLC-RKS
             UNITED STATES OF AMERICA,
                                                          FINDINGS AND
                                 Plaintiff,               RECOMMENDATION
                                                          CONCERNING PLEA
             vs.

             DUSTIN JAY AFTER BUFFALO,

                                 Defendant.




                   The Defendant, by consent, has appeared before the undersigned pursuant to

            Fed. R. Crim. P. II and has entered a plea of guilty to the charge of Burglary in

            violation of 18 U.S.C. § 1153(b), 2 and Mont. Code Ann. 45-6-204(1)(a), as set

            forth in the Indictment. After examining the Defendant under oath, I have made

            the following determinations:

                   1. That the Defendant is fully competent and capable of entering an

            informed and voluntary plea,

                   2. That the Defendant is aware of the nature of the charge against him and

            consequences ofpleading guilty to the charge,

                   3. That the Defendant fully understands his constitutional rights, and the
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        extent to which he is waiving those rights by pleading guilty, and

              4. That the plea of guilty is a knowing and voluntary plea, supported by an

        independent basis in fact sufficient to prove each of the essential elements ofthe

        offense charged.

              Therefore, I recommend that the Defendant be adjudged guilty of Count I of

        the Indictment and that sentence be imposed. A presentence report has been

        ordered.

              This report is fonvarded with the recommendation that the Court defer

        a decision regarding acceptance until the Court has reviewed the presentence

        report.

              DATED this 8th day of August, 2013.




                                               Keith Strong ../'
                                               United States Magistrate Judge
